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     UNITED STATES OF AMERICA
9
                             UNITED STATES DISTRICT COURT
10
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,                No. CR 17-206-JAK
12
               Plaintiff,
13                                            NOTICE OF REASSIGNMENT OF CRIMINAL
                     v.                       CASE
14
     TREVON MAURICE FRANKLIN,
15     aka “Tre-Von M. King,”

16             Defendant.

17

18        Plaintiff, United States of America, hereby advises the court
19   that the above-captioned case has been reassigned to a new Assistant
20   United States Attorney (“AUSA”) as follows:
21
                                Name                    E-Mail Address
22     Previously Assigned      Ryan White              Ryan.white@usdoj.gov
       AUSA
23
       Newly Assigned AUSA      Ellen E. Lansden        Ellen.lansden@usdoj.gov
24

25

26        Please make all necessary changes to the court’s case

27   Management/Electronic Case Filing system to ensure that the newly

28
      Case 2:17-cr-00206-JAK Document 24 Filed 03/19/18 Page 2 of 2 Page ID #:79



1    assigned AUSA is associated with this case and receives all e-mails

2    relating to filings in this case.

3    Dated: March 19, 2018                Respectfully submitted,

4                                         NICOLA T. HANNA
                                          United States Attorney
5
                                          PATRICK FITZGERALD
6                                         Assistant United States Attorney
                                          Chief, National Security Division
7

8                                          /S/
                                          ELLEN E. LANSDEN
9                                         Assistant United States Attorney
10                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
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